                         Case
     Fill in this information     23-60040
                              to identify         Document
                                          your case:               1 Filed in TXSB on 07/16/23 Page 1 of 64
     United States Bankruptcy Court for the:

     ____________________
     Southern              District of _________________
              District of Texas        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Vector  Utilities LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               8501                                                     1820  Reynolds Street
                                                                                                        _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number      Street

                                               San Gabriel Drive
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Laredo                        TX    78045
                                           ______________________________________________
                                                                                                        Laredo                     TX      78043
                                                                                                        _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Webb County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 2 of 64

                Vector Utilities LLC
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                             _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          Rolando Gaytan, Sr & Griselda Gaytan                               Sole Owners of Debtor
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               Southern Dist. of TX, Vic. Div.
                                                   District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
                       Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 3 of 64

              Vector Utilities LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                             ✔




12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99
                                             ✔
                                                                               5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                       Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 4 of 64

               Vector Utilities LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                          $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              07/16/2023
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Griselda C. Gaytan
                                               _____________________________________________               Griselda C. Gaytan
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Managing Member
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Margaret M. McClure
                                               _____________________________________________              Date         07/16/2023
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Margaret M. McClure
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Law Office of Margaret M. McClure
                                               _________________________________________________________________________________________________
                                               Firm name
                                                25420 Kuykendahl Road, Suite B300-1043
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                The Woodlands
                                               ____________________________________________________             TX            77375
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                713-659-1333
                                               ____________________________________                              margaret@mmmcclurelaw.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                00787997                                                        TX
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
                                 Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 5 of 64


 Fill in this information to identify the case:

                Vector Utilities LLC
  Debtor name _________________________________________________________________

                                          Southern District of Texas
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                       2,767,265.48
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         2,767,265.48
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                        1,753,619.31
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        2,012,336.64



4. Total liabilities ...........................................................................................................................................................................        3,765,955.95
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
                           Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 6 of 64
  Fill in this information to identify the case:

               Vector Utilities LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Southern District of Texas
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          First Internet Bank
    3.1. _________________________________________________  Money Market
                                                           ______________________              1
                                                                                               ____    6
                                                                                                      ____    3
                                                                                                             ____   6
                                                                                                                    ____         $______________________
                                                                                                                                   20,590.46
          Frost Bank
    3.2. _________________________________________________  Checking
                                                           ______________________              2
                                                                                               ____    2
                                                                                                      ____    4
                                                                                                             ____   0
                                                                                                                    ____           629,750.02
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 650,340.48
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 7 of 64
Debtor           Vector Utilities LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     14,000.00
                                  ____________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    14,000.00
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         0.00
                                   ___________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    0.00
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
                                                                                                                                    14,000.00
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 2
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 8 of 64
                   Vector Utilities LLC
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                               Date of the last         Net book value of        Valuation method used        Current value of
                                                        physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                   $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used        Current value of debtor’s
                                                                                 debtor's interest        for current value            interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________     $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                     page 3
                        Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 9 of 64
                Vector Utilities LLC
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture
GSA Desks (18), Chairs (8), GSA Filing Cabinets (6), GSA Cubicles (3)
                                                                                  $________________     ____________________        1,350.00
                                                                                                                                  $______________________
40. Office fixtures

                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
Computers (6)                                                                                                                       3,000.00
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                     4,350.00
                                                                                                                                   $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 4
                        Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 10 of 64
                  Vector Utilities LLC
 Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                 Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                     Net book value of      Valuation method used        Current value of
                                                                            debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                            (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          2020 Ford (Ford Credit)                                                                                                Unknown
    47.1___________________________________________________________         $________________       ____________________       $______________________
          2018 Chevrolet (Loan by Carvana LLC)                                                                                   Unknown
    47.2___________________________________________________________         $________________       ____________________       $______________________
          2016 Chevrolet (Loan by Carvana LLC)                                                                                   Unknown
    47.3___________________________________________________________         $________________       ____________________       $______________________
          2020 GMC Sierra (Loan by Security Service Federal Credit Union)                                                        Unknown
    47.4___________________________________________________________         $________________       ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________          $________________       ____________________       $______________________

    48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________          $________________       ____________________       $______________________

    49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See continuation sheet
                                                                             0.00                                                0.00
    ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.                                                                                                             0.00
                                                                                                                               $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔     No
          Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔     No
          Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 5
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 11 of 64
                   Vector Utilities LLC
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
       ✔


        Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1

                                                                                     $_______________      ____________________        $_____________________

55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
           No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
           No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                  page 6
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 12 of 64
Debtor            Vector Utilities LLC
                 _______________________________________________________                         Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                     _______________     –   __________________________         =   $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
      Income Tax Refund
     _________________________________________________________________________________                               2015
                                                                                                           Tax year ___________        11,819.00
                                                                                                                                     $_____________________
      Unused NOL's (estimate)
     _________________________________________________________________________________
                                                                                                                     2022
                                                                                                           Tax year ___________      $_____________________
                                                                                                                                      2,000,000.00
      See continuation sheet
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
                                                                                                                                       86,756.00

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                       2,098,575.00
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
                           Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 13 of 64
                   Vector Utilities LLC
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         650,340.48
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         14,000.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         4,350.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         2,098,575.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         2,767,265.48                          0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  2,767,265.48                                                                                     2,767,265.48
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
                            Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 14 of 64
                Vector Utilities LLC
 Debtor 1                                                            _                 Case number (if known)
               First Name       Middle Name     Last Name



                                                     Continuation Sheet for Official Form 206 A/B

50) Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

Vacuum Excavator                                                                                     Unknown
(Loan by First
Citizens Bank &
Trust Company)

Portable Signs                                                                                       0.00
(Loan by Balboa
Capital) -
SURRENDER

Concrete Mixer                                                                                       Unknown
(Loan by Balboa
Capital) -
SURRENDER

Gomaco (Loan by                                                                                      Unknown
Wells Fargo Bank)

Vibrator, Deck                                                                                       Unknown
Trailer and Wheel
Loader (Loan by
CIT Bank, N.A.) -
SURRENDER


72) Tax refunds and unused net operating losses (NOLs)

Income Tax Refund                             2019                                 77,458.00

Income Tax Refund                             2021                                 9,298.00




Official Form 206 A/B                                             Schedule A/B: Property
                                               Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 15 of 64



                                                                  Vector Utilities, LLC



                                                               MILEAGE           CURRENT VALUE    CONDITION                     TITLE OR INVOICE UNDER



GSA Desks 18                                                   N/A             800.00             FAIR                           VECTOR
GSA CHAIRS                                                     N/A             100.00             FAIR                           VECTOR
GSA FILING CABINETS                                            N/A             200.00             GOOD                           VECTOR
GSA CUBICLES                                                   N/A             250.00             FAIR                           VECTOR
COMPUTERS 6                                                    N/A             3,000.00           GOOD TO FAIR                   VECTOR
 Gomaco GT 360 (2021                                           N/A             384,000.00         OPERABLE                       VECTOR
 2007 Sterling LT9500 Mixer Truck 2FZHAZCV07AX38698            220,000         16,000.00          INOPERABLE-NEVER TOOK POSSESIO VECTOR
 2013     John Deere Excavator 75G - SN 015009                 N/A             52,000.00          OPERABLE                       VECTOR
 2015 Elec Scissor Lift Genie - GS3015A143217                  N/A             20,000.00          OUT OF SERVICE                 VECTOR
 2012 FORD F150XL - 1FTFX1CF8CKD25838                          263,294         4,000.00           OUT OF SERVICE                 VECTOR
2011 Caterpillar Motorgrader 140M S/N CAT 0140MJB9D02804       N/A             95,000.00          OPERABLE                       VECTOR
 2011 John Deere Motorgrader 772G - 1DW772GXJA0632564          N/A             90,000.00          OPERABLE                       VECTOR
 2017      Ditch Witch AT30 SN CMWAT30XCH0000455               N/A             292,467.00         OPERABLE                       VECTOR
 2011 CAT Vibra S/Drum Compactor - CAT0CS56EC5S01530           N/A             54,000.00          OPERABLE                       VECTOR
 CMI RS Soil Stabilizer - SN 526209                            N/A             35,000.00          OUT OF SERVICE                 VECTOR
 Trailer Mounted Arrow Board 15                                N/A             STOLEN             STOLEN                         VECTOR
 Wanco Message Board I                                         N/A             50.00              SCRAPPED                       VECTOR
 Wanco Message Board II                                        N/A             50.00              SCRAPPED                       VECTOR
 Wanco Mounted Generator - SN S829428                          N/A             20,200.00          OUT OF SERVICE                 VECTOR
 Message Board                                                 N/A             100.00             SCRAPPED                       VECTOR
 2 McDermott Arrow Boards                                      N/A             600.00             OUT OF SERVICE                 VECTOR
 2020 Vacuum Excavation System - 5HZJI6237LK002141             N/A             46,107.41          OPERABLE                       VECTOR
 2 Scropion TL2 Trk Mounted Atte -                             N/A             10,000.00          FAIR CONDITION                 VECTOR
 2007 Peterbilt Mixer - 1NPALZ9X57D663754                      245,000         43,950.00          OUT OF SERVICE                 VECTOR
 2004 Ditch Witch # 1677 JT2020 - SN 2Y1677                    N/A             57,750.00          OUT OF SERVICE                 VECTOR
 2005 Ford with HD Platform - 3FRXW75G85V112543                90,000          5,000.00           SCRAPPED-FOR PARTS ONLY        VECTOR
 2009 GMC 5500 #02656 - 1GDE5E1909F402656                      150,000         16,000.00          OPERABLE                       VECTOR
 2010 Ditch JT3020 # 0336 - CMWJ30M1CA0000336                  N/A             93,100.00          OPERABLE                       VECTOR
 2011 Wanco Message Board SN 5F12S1614B1000989                 N/A             100.00             SCRAPPED                       VECTOR
 2011 CAT E6000 Electric Forklift SN A4EC380870                N/A             7,260.00           NON OPERABLE                   VECTOR
 2002 Sterling LT9500 Quad 4 SN 2FZSAZA802AK46149                              17,000.00          NON-OPERABLE-SCRAPPED-FOR PARTVECTOR
 2010 Wanco Message Board 03 SN 5F12S1610A1003256              N/A             100.00             SCRAPPED                       VECTOR
 2012 Magnum MLT3060K Light SN 1215876/5AJLS1418CB215876       N/A             1,883.20           OPERABLE                       VECTOR
 Almont Welding Works REEL TRL No Serial Number                N/A             1,214.26           OPERABLE                       VECTOR
 Fermont MEP 803A 10kW Gen Set SN 36093/FZ31741                N/A             3,052.48           SCRAPPED                       VECTOR
 2009 Kaufman Trailer 00023 5SHFH25219B000023                  N/A             7,740.00           NON-OPERABLE                   VECTOR
 2017 Vactron Vermeer TRL 5HZBF1621HLHH1308                    N/A             40,750.00          OPERABLE                       VECTOR
 2017      LAMA UT 5RVHG2421HP044569                           N/A             5,980.00           OPERABLE                       VECTOR
 2017 LAMA UT 5RVH61823HP051420                                N/A             4,478.69           OPERABLE                       VECTOR
  96 .3 HP Honda GX630 Pressure                                N/A             2,700.84           NON-OPERABLE                   VECTOR
 1999 F450 Rodder Truck 1FDXF46F5XEC68504                      220,000         9,000.00           NON-OPERABLE                   VECTOR
 2011 John Deere 310J SN IT0310JXCBD206737                     N/A             29,500.00          VANDALIZED -OUT OF SERVICE     VECTOR
 2015     Cat 302.7DCR Hyd Excav SN LJ700416                   N/A             47,563.10          OPERABLE                       VECTOR
 2017      John Deere 30GX Ag Pro SN     1FF030GXLHK265449     N/A             39,730.00          OPERABLE                       VECTOR
 2006     Ditch FX30 1DSB202SX61701970                         N/A             13,000.00          NON-OPERABLE                   VECTOR
 2012     Ditch Witch RT115 NO SERIAL#                         N/A             86,000.00          OPERABLE                       VECTOR
 2000 GMC 1GDM7H1C5YJ519969                                    120,000         48,315.00          NON-OPERABLE                   VECTOR
 2007     Intl 4400 REEL TRUCK 1HTMKAAN67H532721               130,000         10,000.00          OUT OF SERVICE                 VECTOR
 2015 John Deere 310SL SN 1T0310SLHFF281800                    N/A             40,906.43          OPERABLE                       VECTOR
 2011 Magnum Trailer 1V5BB2921B1135991                         N/A             10,774.00          OPERABLE                       VECTOR
 2012 Caterpillar 336 SN CAT0336EHBZY01093                     N/A             92,190.00          OPERABLE                       VECTOR
 2012 Caterpillar 329 SN CAT0329ELPLW00180                     N/A             87,800.00          OPERABLE                       VECTOR
 2006 John Deere 710G - T0710GS954871                          N/A             26,000.00          OPERABLE                       VECTOR
 2009 Int 4300 Attenuator Truck SN 1HTMMAAN49H101940           250,000         24,200.00          OUT OF SERVICE                 VECTOR
 2007 Freightliner Water Truck SN 1FUJA6CK67PY62697            230,000         19,755.00          OUT OF SERVICE                 VECTOR
 2006 Freightliner M2 Attenuator Truc 1FVACXDC76HV69628        220,000         19,275.00          OUT OF SERVICE                 VECTOR
 2008 Hino 338 Attenuator Truck 5PVNV8JTX82S50831              265,000         25,875.00          OUT OF SERVICE                 VECTOR
 Solar Portable Sign Board II                                  N/A             3,531.00           STOLEN                         STOLEN
 Solar Portable Sign Board V                                   N/A             2,590.00           STOLEN                         STOLEN
  2007 Bomag Vibrator Pedfoot 901580871028                     N/A             23,032.50          NON-OPERABLE                   VECTOR
  2007 Volvo L70F Wheel Loader L70FV62023                      N/A             23,032.50          OPERABLE                       VECTOR
  2009 Fortaine Step Deck Trailer 13N25320391549753            N/A             11,500.00          OUT OF SERVICE - NEEDS REPAIRS VECTOR
  2014 John Deere 310SK 1T0310SKCEE265926                      N/A             46,000.00          OPERABLE                       VECTOR
  STAHLIN J808HPL Crash Attenuator J808HPL 2020 TRL (NO SN#)   N/A             12,230.25          STOLEN                         VECTOR
 2012 JCB 507.42 Telehandler SN JCB5CEKGJ01402560              N/A             30,899.53          OPERABLE                       VECTOR
 Crash Attenuator J808HPL.TRL NO SN                            N/A             14,000.00          STOLEN                         VECTOR
2019 XL Lowboy Trailer 4U3J05335KL018167                       N/A             73,471.69          OPERABLE                       VECTOR
2011 American Signal Message Board -8592                       N/A             200.00             NON OPERABLE                   VECTOR
2011 American Signal Message Board -8429                       N/A             200.00             NON OPERABLE                   VECTOR
2011 American Signal Message Board -8593                       N/A             200.00             NON OPERABLE                   VECTOR
2011 American Signal Message Board -8437                       N/A             200.00             NON OPERABLE                   VECTOR
2011 American Signal Message Board -8595                       N/A             200.00             NON OPERABLE                   VECTOR
   2012    Peterbilt 365 Sleep Truck 1XPSD79X4CD146872         90,000          38,000.00          OPERABLE                       VECTOR
                                                                                   2,341,154.88
                            Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 16 of 64
  Fill in this information to identify the case:
              Vector Utilities LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Southern  District of Texas

  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Balboa Capital                                              Loan on Equipment (Portable Signs) -
      __________________________________________
                                                                 SURRENDER                                                         8,013.78
                                                                                                                                 $__________________          Unknown
                                                                                                                                                            $_________________

     Creditor’s mailing address

      P.O. Box 844803
      ________________________________________________________
      Los Angeles, CA 90084-4803
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Equipment    Loan
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred            09/1/2020
                                     __________________          
                                                                 ✔   No
    Last 4 digits of account                                        Yes
    number                   8000
                             _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                   No
    same property?                                               
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Balboa Capital
                                                                 Loan on Equipment (Concrete Mixer) -                            $__________________
                                                                                                                                  44,309.02                 $_________________
                                                                                                                                                             Unknown
      __________________________________________                 SURRENDER
     Creditor’s mailing address
      575 Anton Blvd., 12th Floor
      ________________________________________________________
      Costa Mesa, CA 92626
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
                             12/8/2022
    Date debt was incurred __________________
    Last 4 digits of account                                      Equipment Loan
                                                                  _________________________________________________
    number                   8001
                             _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
    
    ✔ No
                                                                 Is anyone else liable on this claim?
     Yes. Have you already specified the relative                  No
              priority?
                                                                 
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    1,753,619.31
                                                                                                                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          7
                                                                                                                                                              page 1 of ___
                            Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 17 of 64
                   Vector Utilities LLC
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Carvana LLC
                                                                Loan on 2018 Chevrolet
     __________________________________________                                                                                  36,193.22
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address

     1123 Cantrell Sansom Rd.
     ________________________________________________________

     Fort Worth, TX 76131
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Carvana LLC
                                                                Loan on 2016 Chevrolet
     __________________________________________                                                                                  24,502.59
                                                                                                                                $__________________       Unknown
                                                                                                                                                        $_________________
     Creditor’s mailing address


      1123 Cantrell Sansom Rd.
     ________________________________________________________

      Fort Worth, TX 76131
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
    
    ✔ No                                                           Yes

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 2 of ___
                                                                                                                                                                       7
                            Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 18 of 64
                   Vector Utilities LLC
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     CIT Bank, N.A.
                                                                Loan on Equipment (Vibrator, Deck Trailer
     __________________________________________                 and Wheel Loader) - SURRENDER                                    24,718.41
                                                                                                                                $__________________      Unknown
                                                                                                                                                        $_________________
     Creditor’s mailing address

     10201 Centurion Pkwy N.
     ________________________________________________________

     Suite 100, Jacksonville, FL 32256
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                             5627
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


2.__
  6 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     First Citizens Bank & Trust Company
                                                                Loan on Equipment (Vermeer Vacuum
                                                                Excavator)
     __________________________________________                                                                                  33,747.90
                                                                                                                                $__________________       Unknown
                                                                                                                                                        $_________________
     Creditor’s mailing address


      10201 Centurion Pkwy N.
     ________________________________________________________

      Suite 100, Jacksonville, FL 32256
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Equipment
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
    
    ✔ No                                                           Yes

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 3 of ___
                                                                                                                                                                       7
                            Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 19 of 64
                   Vector Utilities LLC
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  7 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Ford Credit
                                                                Ford F250
     __________________________________________                                                                                  41,381.01
                                                                                                                                $__________________      Unknown
                                                                                                                                                        $_________________
     Creditor’s mailing address

     Post Office Box 105704
     ________________________________________________________

     Atlanta, GA 30348-5704
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


2.__
  8 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Newtek Small Business Finance, LLC
                                                                Business Loan
     __________________________________________                                                                                  40,000.00
                                                                                                                                $__________________       Unknown
                                                                                                                                                        $_________________
     Creditor’s mailing address


      P.O. Box 150
     ________________________________________________________

      Northville, NY 12134
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Business Loan
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
    
    ✔ No                                                           Yes

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                           No
              No. Specify each creditor, including this
                                                                
                                                                ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 4 of ___
                                                                                                                                                                       7
                            Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 20 of 64
                   Vector Utilities LLC
  Debtor            _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                                 Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  9 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Newtek Small Business Finance, LLC
                                                                 Lien on warehouse owned by Rolando
      __________________________________________                 Gaytan and other assets                                          1,234,734.15
                                                                                                                                 $__________________      Unknown
                                                                                                                                                         $_________________
     Creditor’s mailing address

      P.O. Box 150
      ________________________________________________________

      Northville, NY 12134
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred          __________________
                                     12/14/2020                  Describe the lien
     Last 4 digits of account                                     SBA Loan
                                                                  __________________________________________________
     number                   _________________
                              8210
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔   No
     same property?                                                 Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                            No
              No. Specify each creditor, including this         
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


2.__
  10 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Security Service Federal Credit Union
                                                                 Loan on 2020 GMC Sierra
      __________________________________________                                                                                  44,033.84
                                                                                                                                 $__________________       Unknown
                                                                                                                                                         $_________________
     Creditor’s mailing address


       Post Office Box 691510
      ________________________________________________________

       San Antonio, TX 78269
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred          __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   Agreement you made
                                                                  __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔   No
     
     ✔ No                                                           Yes

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
                                                                                                                                                                  5 of ___
                                                                                                                                                                        7
                            Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 21 of 64
                   Vector Utilities LLC
  Debtor            _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                                 Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  11 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Wells Fargo Bank
                                                                 Loan on Gomaco
      __________________________________________                                                                                  221,985.39
                                                                                                                                 $__________________      Unknown
                                                                                                                                                         $_________________
     Creditor’s mailing address

      600 South 4th Street
      ________________________________________________________

      MAC N9300-100, Minneapolis, MN 55415
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred          __________________          Describe the lien
     Last 4 digits of account                                     Agreement you made
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔   No
     same property?                                                 Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


2.__ Creditor’s name                                             Describe debtor’s property that is subject to a lien



      __________________________________________                                                                                 $__________________     $_________________
     Creditor’s mailing address


      ________________________________________________________

      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred          __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                                 No
      No                                                           Yes

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                            No
              No. Specify each creditor, including this
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
                                                                                                                                                                  6 of ___
                                                                                                                                                                        7
                      Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 22 of 64
Debtor
               Vector Utilities LLC
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Newtek Small Business Finance, LLC
     1981 Marcus Avenue, Suite 130
     Lake Success, NY, 11042                                                                                           8
                                                                                                               Line 2. __                    _________________


     Newtek Small Business Finance, LLC
     1981 Marcus Avenue, Suite 130
     Lake Success, NY, 11042                                                                                           9
                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      7 of ___
                                                                                                                                                           7
                             Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 23 of 64
      Fill in this information to identify the case:

      Debtor
                      Vector Utilities LLC
                      __________________________________________________________________

                                              Southern District of Texas
      United States Bankruptcy Court for the: ________________________________

      Case number      ___________________________________________
      (If known)

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                       12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      
      ✔    No. Go to Part 2.
          Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                       No
                                                                Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                               14
                                                                                                                                            page 1 of ___
                       Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 24 of 64
               Vector Utilities LLC
  Debtor       _______________________________________________________                               Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Allen Plumbing & Supply Co.                                                                                                996.75
                                                                                                                             $________________________________
                                                                              Contingent
    2005 S. Hwy 83                                                            Unliquidated
    Crystal City, TX, 78839-4505                                              Disputed
                                                                                                   Porta Potty
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    American Express                                                       Check all that apply.                               12,143.39
                                                                                                                             $________________________________
    P.O. Box 6031                                                             Contingent
    Carol Stream, IL, 60197-6031                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Credit Card


    Date or dates debt was incurred            2023
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            1001
                                               __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    American Express                                                                                                           164,809.90
                                                                                                                             $________________________________
                                                                              Contingent
    P.O. Box 6031                                                             Unliquidated
    Carol Stream, IL, 60197-6031                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Credit Card

    Date or dates debt was incurred            2007
                                               ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            6005
                                               __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    American Express - Line of Credit                                      Check all that apply.
                                                                                                                               149,833.99
                                                                                                                             $________________________________
    P.O. Box 6031                                                             Contingent
    Carol Stream, IL, 60197-6031                                              Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:
                                                                                                   Business Line of Credit

    Date or dates debt was incurred            2023
                                               ___________________         Is the claim subject to offset?

    Last 4 digits of account number            2048, 4470
                                               __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Barricades Unlimited                                                                                                       14,517.03
                                                                                                                             $________________________________
                                                                           Check all that apply.
    2002 Clovis Road                                                          Contingent
    Lubbock, TX, 79415                                                        Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Rental Equipment

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Big Bend Concrete                                                                                                          1,897.50
                                                                                                                             $________________________________
                                                                           Check all that apply.
    1406 US 90                                                                Contingent
    Alpine, TX, 79830                                                         Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:     Concrete

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                       2 of ___
                                                                                                                                                      page __    14
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 25 of 64
                  Vector Utilities LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             36,096.14
                                                                                                                     $________________________________
 Buyers Barricades                                                      Contingent
 4941 Emil Street                                                       Unliquidated
 San Antonio, TX, 78219                                                 Disputed

                                                                     Basis for the claim: Traffic Control Trucks - Rental



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       1,768.50
                                                                                                                     $________________________________
 Carillo & Associates, Inc.
 911 Frio City Road                                                     Contingent
 San Antonio, TX, 78207                                                 Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Flex Base Testing



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Chase Ink                                                           Check all that apply.
                                                                                                                      26,259.29
                                                                                                                     $________________________________
 P.O. Box 15123                                                         Contingent
 Wilmington, DE, 19850-5123                                             Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Credit Card



        Date or dates debt was incurred       ___________________
                                              2023                   Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              6078                   
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9,644.43
                                                                                                                     $________________________________
 CMC Construction Services                                           Check all that apply.
 P.O. Box 844573                                                        Contingent
 Dallas, TX, 75284                                                      Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Construction Supplies



        Date or dates debt was incurred        2023
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CMC Construction Services                                           Check all that apply.
                                                                                                                       10,105.69
                                                                                                                     $________________________________
 11811 East Freeway, Suite 660                                          Contingent
 Houston, TX, 77029                                                     Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Materials



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              3618                      Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 3 of ___
                                                                                                                                              page __    14
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 26 of 64
                  Vector Utilities LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,136.30
                                                                                                                     $________________________________
 Commercial Metals Company                                              Contingent
 11811 East Freeway, Suite 660                                          Unliquidated
 Houston, TX, 77029                                                     Disputed

                                                                     Basis for the claim: Construction Materials



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        2023
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       1,925.00
                                                                                                                     $________________________________
 Dimmit County SWD, LLC
 13238 FM190                                                            Contingent
 Carrizo Springs, TX, 78834                                             Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Fresh Water



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dyess-Peterson Testing Laboratory, Inc.                             Check all that apply.
                                                                                                                      2,075.25
                                                                                                                     $________________________________
 P.O. 30699                                                             Contingent
 Amarillo, TX, 79120                                                    Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Laboratory Concrete Testing



        Date or dates debt was incurred       ___________________
                                              2023                   Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      40.35
                                                                                                                     $________________________________
 E-470 Public Highway Authority                                      Check all that apply.
 P.O. Box 5470                                                          Contingent
 Denver, CO, 80217-5470                                                 Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Toll Road Fees



        Date or dates debt was incurred        2023
                                              ___________________    Is the claim subject to offset?
                                              6284                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 E-470 Public Highway Authority                                      Check all that apply.
                                                                                                                       72.25
                                                                                                                     $________________________________
 P.O. Box 5470                                                          Contingent
 Denver, CO, 80217-5470                                                 Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Toll Road Fees



        Date or dates debt was incurred        2023
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              7961                      Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 4 of ___
                                                                                                                                              page __    14
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 27 of 64
                  Vector Utilities LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             20,682.10
                                                                                                                     $________________________________
 Flasher Equipment Company                                              Contingent
 5827 W US Hwy 90                                                       Unliquidated
 San Antonio, TX, 78227                                                 Disputed

                                                                     Basis for the claim: Safety Signs



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       46,332.28
                                                                                                                     $________________________________
 Garrett Construction Co.
 P.O. Box 1028                                                          Contingent
 Ingleside, TX, 78362                                                   Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Claim Denied by Surety Bond - Subcontractor Agreement



        Date or dates debt was incurred        2021
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       8514
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gibraltar Global, LLC                                               Check all that apply.
                                                                                                                      2,825.00
                                                                                                                     $________________________________
 1208 Houston Clinton Drive                                             Contingent
 Burnet, TX, 78611                                                      Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Material



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      26.50
                                                                                                                     $________________________________
 HCTRA - Violations                                                  Check all that apply.
 P.O. Box 4440, Dept. 11                                                Contingent
 Houston, TX, 77210-4440                                                Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Toll Road Violations



        Date or dates debt was incurred        2023
                                              ___________________    Is the claim subject to offset?
                                              7451                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 HCTRA - Violations                                                  Check all that apply.
                                                                                                                       7.00
                                                                                                                     $________________________________
 P.O. Box 4440, Dept. 8                                                 Contingent
 Houston, TX, 77210-4440                                                Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Toll Road Fees



        Date or dates debt was incurred        2023
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              6836                      Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 5 of ___
                                                                                                                                              page __    14
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 28 of 64
                  Vector Utilities LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             546.25
                                                                                                                     $________________________________
 Highway Barricades and Services                                        Contingent
 P.O. Box 9104                                                          Unliquidated
 Corpus Christi, TX, 78469                                              Disputed

                                                                     Basis for the claim: Traffic Control Signs



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       9,536.91
                                                                                                                     $________________________________
 J & J Excavating & Materials
 4236 North US Hwy 83                                                   Contingent
 Crystal City, TX, 78839                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Hauling Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lovein Ribman                                                       Check all that apply.
                                                                                                                      1,004.00
                                                                                                                     $________________________________
 Attorney & Counselors                                                  Contingent
 1225 S. Main Street, Suite 200                                         Unliquidated
 Grapevine, TX, 76051                                                   Disputed
                                                                     Basis for the claim: Construction Attorney Fees



        Date or dates debt was incurred       ___________________
                                              2023                   Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      313.92
                                                                                                                     $________________________________
 MAC Septic                                                          Check all that apply.
 P.O. Box 640                                                           Contingent
 Fort Davis, TX, 79734                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Merchants Bonding Company (Mutual)                                  Check all that apply.
                                                                                                                       Unknown
                                                                                                                     $________________________________
 P.O. Box 14498                                                         Contingent
 Des Moines, IA, 50306                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Surety Bond Company



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 6 of ___
                                                                                                                                              page __    14
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 29 of 64
                  Vector Utilities LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             Unknown
                                                                                                                     $________________________________
 Merchants National Bonding, Inc.                                       Contingent
 P.O. Box 14498                                                         Unliquidated
 Des Moines, IA, 50306                                                  Disputed

                                                                     Basis for the claim: Surety Bond Company



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       855,803.34
                                                                                                                     $________________________________
 MW GRP Capital/Samson Funding
 c/o Ariel Bouskila, Attorney at Law                                    Contingent
 80 Broad Street, Suite 3303                                            Unliquidated
 New York, NJ, 10004                                                 
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Loan against Accounts Receivable - Lawsuit



        Date or dates debt was incurred        05/15/2023
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       6247
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 North Texas Tollway Authority                                       Check all that apply.
                                                                                                                      35.95
                                                                                                                     $________________________________
 P.O. Box 660244                                                        Contingent
 Dallas, TX, 75266-0244                                                 Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Toll Road Fees



        Date or dates debt was incurred       ___________________
                                              2023                   Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              6879                   
                                                                     ✔
                                                                         No
                                                                        Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52.01
                                                                                                                     $________________________________
 North Texas Tollway Authority                                       Check all that apply.
 P.O. Box 660244                                                        Contingent
 Dallas, TX, 75266-0244                                                 Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Toll Road Fees



        Date or dates debt was incurred        2023
                                              ___________________    Is the claim subject to offset?
                                              6391                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Owk Rock Capital Group, LLC                                         Check all that apply.
                                                                                                                       45,000.00
                                                                                                                     $________________________________
 1981 Marcus Avenue, Suite 180                                          Contingent
 Lake Success, NY, 11042                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Business Loan



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              7560                      Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 7 of ___
                                                                                                                                              page __    14
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 30 of 64
                  Vector Utilities LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             2,831.00
                                                                                                                     $________________________________
 Pathmark Traffic Equipment                                             Contingent
 4435 Hunter Road                                                       Unliquidated
 San Marcos, TX, 78666                                                  Disputed

                                                                     Basis for the claim: Marking Tape Material



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       2,696.50
                                                                                                                     $________________________________
 Rabern Rentals
 4807 S. Washington                                                     Contingent
 Amarillo, TX, 79110                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Equipment Rental



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 RMA Toll Processing                                                 Check all that apply.
                                                                                                                      15.93
                                                                                                                     $________________________________
 P.O. Box 734182                                                        Contingent
 Dallas, TX, 75373-4182                                                 Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Toll Road Fees



        Date or dates debt was incurred       ___________________
                                              2023                   Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              9218                   
                                                                     ✔
                                                                         No
                                                                        Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      11,978.11
                                                                                                                     $________________________________
 Rojas Heavy Equipment                                               Check all that apply.
 240 Frontage Road                                                      Contingent
 Alamo, TX, 78516                                                       Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Rental Equipment



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 RPV Construction, LLC                                               Check all that apply.
                                                                                                                       920.00
                                                                                                                     $________________________________
 59 Duck Pond Rd.                                                       Contingent
 Del Rio, TX, 78840                                                     Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 8 of ___
                                                                                                                                              page __    14
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 31 of 64
                  Vector Utilities LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             2,361.26
                                                                                                                     $________________________________
 S & S Bridge Painting, Inc.                                            Contingent
 P.O. Box 295094                                                        Unliquidated
 Kerrville, TX, 78029                                                   Disputed

                                                                     Basis for the claim: Project Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        2023
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       97,200.35
                                                                                                                     $________________________________
 SCR Civil Construction, LLC
 5420 FM 2218                                                           Contingent
 Richmond, TX, 77469                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Disputed Amount of Claim



        Date or dates debt was incurred        2022
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 South Point Rentals                                                 Check all that apply.
                                                                                                                      442.50
                                                                                                                     $________________________________
 1710 Young Drive                                                       Contingent
 Kingsville, TX, 78364                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Porta Potty Rental



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      55,773.42
                                                                                                                     $________________________________
 South Texas Aggregates, Inc.                                        Check all that apply.
 4343 E. Main Street                                                    Contingent
 Uvalde, TX, 78801                                                      Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Aggregates



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Street Smart Rentals                                                Check all that apply.
                                                                                                                       8,000.00
                                                                                                                     $________________________________
 6811 137th Avenue NE                                                   Contingent
 Columbus, MN, 55025                                                    Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Safety Rental Equipment



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              8819                      Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 9 of ___
                                                                                                                                              page __    14
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 32 of 64
                  Vector Utilities LLC
  Debtor          _______________________________________________________                     Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                              24,772.00
                                                                                                                      $________________________________
 Superior Traffic Services                                              Contingent
 8404 El Way                                                            Unliquidated
 Missoula, MT, 59808                                                    Disputed

                                                                     Basis for the claim: Rental Traffic Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Texas Community Bank
 6721 McPherson Rd                                                      Contingent
 Laredo, TX, 78043                                                      Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                        No
                                                                     
                                                                     ✔
                                                                         Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Texas Environmental Management, SA Inc.                             Check all that apply.
                                                                                                                       Unknown
                                                                                                                      $________________________________
 Post Office Box 369                                                    Contingent
 Justin, TX, 76247                                                      Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                       97,667.13
                                                                                                                      $________________________________
 Texas Guardrail Contractors, LLC                                    Check all that apply.
 1211 San Dario Avenue, #1680                                           Contingent
 Laredo, TX, 78040                                                      Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Disputed - Bond Claim - Subcontractor did faulty work - Vector
                                                                                             was not paid by project owner


        Date or dates debt was incurred        2023
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Texas Hill Country Mobile Mixers, Inc.                              Check all that apply.
                                                                                                                        110,737.00
                                                                                                                      $________________________________
 4300 IH-10W                                                            Contingent
 Boerne, TX, 78006                                                      Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Disputed - Bond Claim - Material, Rent



        Date or dates debt was incurred        2022
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              0001                      Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                             page __
                                                                                                                                                    10 of ___
                                                                                                                                                           14
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 33 of 64
                  Vector Utilities LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             233.04
                                                                                                                     $________________________________
 Thomas Ready Mix Company, Inc.                                         Contingent
 P.O. Box 5664                                                          Unliquidated
 Amarillo, TX, 79117-5664                                               Disputed

                                                                     Basis for the claim: Concrete



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        2023
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       2,829.82
                                                                                                                     $________________________________
 Toshiba Business Solutions
 P.O. Box 790448                                                        Contingent
 Saint Louis, MO, 63179-0448                                            Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Office Printer Lease



        Date or dates debt was incurred        2022
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       7280
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 TxTag                                                               Check all that apply.
                                                                                                                      29.58
                                                                                                                     $________________________________
 P.O. Box 650749                                                        Contingent
 Dallas, TX, 75265-0749                                                 Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Toll Road Fees



        Date or dates debt was incurred       ___________________
                                              2023                   Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              9163                   
                                                                     ✔
                                                                         No
                                                                        Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      252.33
                                                                                                                     $________________________________
 TxTag                                                               Check all that apply.
 P.O. Box 650749                                                        Contingent
 Dallas, TX, 75265-0749                                                 Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Toll Road Fees



        Date or dates debt was incurred        2023
                                              ___________________    Is the claim subject to offset?
                                              1163                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 TxTag                                                               Check all that apply.
                                                                                                                       204.43
                                                                                                                     $________________________________
 P.O. Box 650749                                                        Contingent
 Dallas, TX, 75265-0749                                                 Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Toll Road Fees



        Date or dates debt was incurred        2023
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              6425                      Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   11 of ___
                                                                                                                                                          14
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 34 of 64
                  Vector Utilities LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             Unknown
                                                                                                                     $________________________________
 U.S. Bank Equipment Finance                                            Contingent
 1310 Madrid Street                                                     Unliquidated
 Marshall, MN, 56258                                                    Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       9,285.57
                                                                                                                     $________________________________
 United Rental
 2225 Austin Street                                                     Contingent
 San Angelo, TX, 76903-8757                                             Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Equipment Rental



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       6150
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  54
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 V & M Construction                                                  Check all that apply.
                                                                                                                      45,192.40
                                                                                                                     $________________________________
 1406 Avenue Q                                                          Contingent
 Del Rio, TX, 78840                                                     Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  55
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      114,847.25
                                                                                                                     $________________________________
 Vulcan Materials Company                                            Check all that apply.
 10101 Reunion Place, Suite 500                                         Contingent
 San Antonio, TX, 78216                                                 Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Concrete



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              9384                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  56
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Water Truck Rental                                                  Check all that apply.
                                                                                                                       8,580.00
                                                                                                                     $________________________________
 8238 Leopard Street                                                    Contingent
 Corpus Christi, TX, 78409                                              Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Rental Safety Trucks



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __
                                                                                                                                                   12 of ___
                                                                                                                                                          14
                           Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 35 of 64
                    Vector Utilities LLC
     Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                    Name



Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          MW GRP Capital/Samson Funding
4.1.      c/o Ariel Bouskila, Attorney at Law                                                       3.28
                                                                                               Line _____
          1545 U.S. 202, Suite 101                                                                                                              ________________
          Pomona, NY, 10970                                                                         Not listed. Explain:


          MW GRP Capital/Samson Funding
4.2.
          17 State Street, Suite 630                                                           Line 3.28
                                                                                                    _____
          New York, NJ, 10004                                                                     Not listed. Explain                          ________________



          Texas Hill Country Mobile Mixers, Inc.                                                    3.46
4.3.                                                                                           Line _____
          c/o Cokinos Construction Law
          1221 Lamar, 16th Floor                                                                  Not listed. Explain                          ________________
          Houston, TX, 77010

4.4.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                              14
                                                                                                                                                                13 of ___
                                                                                                                                                           page __
                      Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 36 of 64
               Vector Utilities LLC
 Debtor        _______________________________________________________                    Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    0.00
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       2,012,336.64
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          2,012,336.64
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                14 of ___
                                                                                                                                                       14
                       Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 37 of 64

 Fill in this information to identify the case:

             Vector Utilities LLC
 Debtor name __________________________________________________________________

                                         Southern District of Texas
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Triple Net Lease for Warehouse at                 Rolando Gayton
         State what the contract or    8501 San Gabriel Drive, Laredo,                   1820 Reynolds Street
 2.1     lease is for and the nature
                                       Texas 78045
         of the debtor’s interest
                                                                                         Laredo, TX, 78043
                                       Lessee
         State the term remaining
                                       evergreen
         List the contract number of
         any government contract

                                       Office Printer Lease                              Toshiba Business Solutions
         State what the contract or                                                      Post Office Box 790448
 2.2     lease is for and the nature
         of the debtor’s interest                                                        St. Louis,, MO, 63179-0448

         State the term remaining
         List the contract number of
         any government contract

                                       Blanket Subcontractor Construction                 Rockport Contracting, LLC
         State what the contract or    Agreement                                          1 Sugar Creek Center Blvd, 1000
 2.3     lease is for and the nature
         of the debtor’s interest      Agent                                              Sugar Land, TX, 77478-3557

         State the term remaining      Evergreen
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
                       Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 38 of 64
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Vector Utilities LLC

                                         Southern District of Texas
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

       Rolando Gaytan &              1820 Reynolds Street
 2.1                                                                                                     Newtek                     ✔ D
                                                                                                                  Small Business Finance,
                                                                                                          _____________________          LLC
       Griselda Gaytan               Laredo, TX 78043
                                                                                                                                              E/F
                                                                                                                                              G




 2.2                                 1820 Reynolds Street
                                                                                                         Balboa   Capital
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                     Laredo, TX 78043
                                                                                                                                              E/F
       Griselda Gaytan                                                                                                                        G




 2.3                                 1820 Reynolds Street
                                     Laredo, TX 78043                                                     Vulcan   Materials Company  D
                                                                                                           _____________________
                                                                                                                                             ✔ E/F
                                                                                                                                             
       Rolando Gaytan & Griselda Gaytan                                                                                                       G



 2.4
                                     1820 Reynolds Street
                                     Laredo, TX 78043                                                    MW                        D
                                                                                                              GRP Capital/Samson Funding
                                                                                                          _____________________
                                                                                                                                             ✔ E/F
                                                                                                                                             
       Griselda Gaytan                                                                                                                        G



 2.5                                 1820 Reynolds Street
                                     Laredo, TX 78043                                                    Balboa   Capital
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                                                                                                                              E/F
       Griselda Gaytan                                                                                                                        G




 2.6                                 1820 Reynolds Street
                                     Laredo, TX 78043                                                    Street Smart Rentals
                                                                                                          _____________________               D
                                                                                                                                             ✔ E/F
                                                                                                                                             
       Rolando Gaytan & Griselda Gaytan                                                                                                       G




Official Form 206H                                               Schedule H: Codebtors                                                                    5
                                                                                                                                               page 1 of ___
                      Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 39 of 64
               Vector Utilities LLC
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   7
 2.___    Rolando Gaytan         1820 Reynolds Street                                        American Express
                                                                                                                               D
                                 Laredo, TX 78043                                                                             ✔ E/F
                                                                                                                              
                                                                                                                               G




   8
 2.___    Rolando Gaytan & 1820 Reynolds Street                                              Merchants Bonding
                                                                                                                               D
          Griselda Gaytan  Laredo, TX 78043                                                  Company (Mutual)                 ✔ E/F
                                                                                                                              
                                                                                                                               G




   9
 2.___    Rolando Gaytan &       1820 Reynolds Street                                        Merchants National                D
          Griselda Gaytan        Laredo, TX 78043                                            Bonding, Inc.                    ✔ E/F
                                                                                                                              
                                                                                                                               G




   10
 2.___    Rolando Gaytan & 1820 Reynolds Street                                              CMC Construction
                                                                                                                               D
          Griselda Gaytan  Laredo, TX 78043                                                  Services                         ✔ E/F
                                                                                                                              
                                                                                                                               G




   11
 2.___    Rolando Gaytan & 1820 Reynolds Street                                              Commercial Metals                 D
          Griselda Gaytan  Laredo, TX 78043                                                  Company                          ✔ E/F
                                                                                                                              
                                                                                                                               G




   12
 2.___    Griselda Gaytan        1820 Reynolds Street                                        American Express                  D
                                 Laredo, TX 78043                                                                             ✔ E/F
                                                                                                                              
                                                                                                                               G




   13
 2.___    Rolando Gaytan & 1820 Reynolds Street                                              Dyess-Peterson Testing
                                                                                                                               D
          Griselda Gaytan  Laredo, TX 78043                                                  Laboratory, Inc.                 ✔ E/F
                                                                                                                              
                                                                                                                               G




   14
 2.___
          Rolando Gaytan & 1820 Reynolds Street                                              Thomas Ready Mix                  D
          Griselda Gaytan  Laredo, TX 78043                                                  Company, Inc.                    ✔ E/F
                                                                                                                              
                                                                                                                               G




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
                                                                                                                                       2 of ___
                                                                                                                                             5
                      Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 40 of 64
               Vector Utilities LLC
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   15
 2.___    Rolando Gaytan & 1820 Reynolds Street                                              Garrett Construction Co.
                                                                                                                               D
          Griselda Gaytan  Laredo, TX 78043                                                                                   ✔ E/F
                                                                                                                              
                                                                                                                               G




   16
 2.___    Rolando Gaytan & 1820 Reynolds Street                                              SCR Civil Construction,
                                                                                                                               D
          Griselda Gaytan  Laredo, TX 78043                                                  LLC                              ✔ E/F
                                                                                                                              
                                                                                                                               G




   17
 2.___    Rolando Gaytan &       1820 Reynolds Street                                        Texas Guardrail                   D
          Griselda Gaytan        Laredo, TX 78043                                            Contractors, LLC                 ✔ E/F
                                                                                                                              
                                                                                                                               G




   18
 2.___    Rolando Gaytan & 1820 Reynolds Street                                              Texas Hill Country
                                                                                                                               D
          Griselda Gaytan  Laredo, TX 78043                                                  Mobile Mixers, Inc.              ✔ E/F
                                                                                                                              
                                                                                                                               G




   19
 2.___    Rolando Gaytan & 1820 Reynolds Street                                              S & S Bridge Painting,            D
          Griselda Gaytan  Laredo, TX 78043                                                  Inc.                             ✔ E/F
                                                                                                                              
                                                                                                                               G




   20
 2.___    Rolando Gaytan         1820 Reynolds Street                                        Chase Ink                         D
                                 Laredo, TX 78043                                                                             ✔ E/F
                                                                                                                              
                                                                                                                               G




   21
 2.___    Rolando Gaytan & 1820 Reynolds Street                                              HCTRA - Violations
                                                                                                                               D
          Griselda Gaytan  Laredo, TX 78043                                                                                   ✔ E/F
                                                                                                                              
                                                                                                                               G




   22
 2.___
          Rolando Gaytan & 1820 Reynolds Street                                              E-470 Public Highway              D
          Griselda Gaytan  Laredo, TX 78043                                                  Authority                        ✔ E/F
                                                                                                                              
                                                                                                                               G




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
                                                                                                                                       3 of ___
                                                                                                                                             5
                      Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 41 of 64
               Vector Utilities LLC
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   23
 2.___    Rolando Gaytan & 1820 Reynolds Street                                              North Texas Tollway
                                                                                                                               D
          Griselda Gaytan  Laredo, TX 78043                                                  Authority                        ✔ E/F
                                                                                                                              
                                                                                                                               G




   24
 2.___    Rolando Gaytan         1820 Reynolds Street                                        North Texas Tollway
                                                                                                                               D
                                 Laredo, TX 78043                                            Authority                        ✔ E/F
                                                                                                                              
                                                                                                                               G




   25
 2.___    Rolando Gaytan &       1820 Reynolds Street                                        HCTRA - Violations                D
          Griselda Gaytan        Laredo, TX 78043                                                                             ✔ E/F
                                                                                                                              
                                                                                                                               G




   26
 2.___    Rolando Gaytan         1820 Reynolds Street                                        TxTag
                                                                                                                               D
                                 Laredo, TX 78043                                                                             ✔ E/F
                                                                                                                              
                                                                                                                               G




   27
 2.___    Rolando Gaytan         1820 Reynolds Street                                        TxTag                             D
                                 Laredo, TX 78043                                                                             ✔ E/F
                                                                                                                              
                                                                                                                               G




   28
 2.___    Rolando Gaytan & 1820 Reynolds Street                                              TxTag                             D
          Griselda Gaytan  Laredo, TX 78043                                                                                   ✔ E/F
                                                                                                                              
                                                                                                                               G




   29
 2.___    Rolando Gaytan         1820 Reynolds Street                                        RMA Toll Processing
                                                                                                                               D
                                 Laredo, TX 78043                                                                             ✔ E/F
                                                                                                                              
                                                                                                                               G




   30
 2.___
          Rolando Gaytan & 1820 Reynolds Street                                              Lovein Ribman                     D
          Griselda Gaytan  Laredo, TX 78043                                                                                   ✔ E/F
                                                                                                                              
                                                                                                                               G




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
                                                                                                                                       4 of ___
                                                                                                                                             5
                      Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 42 of 64
               Vector Utilities LLC
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   31
 2.___    Rolando Gaytan         1820 Reynolds Street                                        American Express - Line
                                                                                                                      D
                                 Laredo, TX 78043                                            of Credit               ✔ E/F
                                                                                                                     
                                                                                                                               G




   32
 2.___    Rolando Gaytan & 1820 Reynolds Street                                              E-470 Public Highway
                                                                                                                               D
          Griselda Gaytan  Laredo, TX 78043                                                  Authority                        ✔ E/F
                                                                                                                              
                                                                                                                               G




   33
 2.___    Rolando Gaytan &       1820 Reynolds Street                                        Toshiba Business                  D
          Griselda Gaytan        Laredo, TX 78043                                            Solutions                        ✔ E/F
                                                                                                                              
                                                                                                                               G




   34
 2.___    Rolando Gaytan & 1820 Reynolds Street                                              Newtek Small Business            ✔ D
                                                                                                                              
          Griselda Gaytan  Laredo, TX 78043                                                  Finance, LLC                      E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
                                                                                                                                       5 of ___
                                                                                                                                             5
                 Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 43 of 64

                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Vector Utilities LLC                                                            11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Rolando Gaytan                                              49                      Common stockholder
 1820 Reynolds Street, Laredo, TX 78043




 Griselda C. Gaytan                                          51                      Common stockholder
 1820 Reynolds Street, Laredo, TX 78043
                      Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 44 of 64


Fill in this information to identify the case:
             Vector Utilities LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Southern District of Texas District of _________
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                     Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                            2,616,074.83
           fiscal year to filing date:           01/01/2023
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2022
                                           From ___________         to     12/31/2022
                                                                           ___________         
                                                                                               ✔ Operating a business                       7,782,078.00
                                                                                                                                   $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2021
                                           From ___________         to     12/31/2021
                                                                           ___________         
                                                                                               ✔ Operating a business
                                                                                                                                            9,551,516.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔   None

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
                          Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 45 of 64

                 Vector Utilities LLC
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              American Express
             __________________________________________                       $_________________
                                                                               156,949.47                        Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                            
                                                                                                            ✔     Other _______________________________


     3.2.

              American Express Line of Credit                                 $_________________
                                                                               5,125.01                          Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                            
                                                                                                            ✔     Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.

             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
                          Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 46 of 64

                 Vector Utilities LLC
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                   Date              Value of property
     5.1.

            __________________________________________                                                                       ______________    $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                                  _______________     $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
           None
             Creditor’s name and address                           Description of the action creditor took                   Date action was      Amount
                                                                                                                             taken
                                                               Setoff made by creditor to business bank
             Texas Community Bank
             __________________________________________        account 8096                                                 06/06/2023
                                                                                                                            _______________     302,012.75
                                                                                                                                               $___________
             Creditor’s name
             6721 McPherson Rd
             Laredo, TX 78043

                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                           Court or agency’s name and address                Status of case
            MW GRP Capital vs. Vector Utilities,                                             Supreme Court of the State of New York
     7.1.   LLC dba Vector Utilities and Griselda    Lawsuit                                                                                    
                                                                                                                                                ✔   Pending
            Gaytan
                                                                                                                                                   On appeal

             Case number                                                                     County of Ontario                                     Concluded
                                                                                             New York, NJ 10004
      136367-2023
             _________________________________

             Case title                                                                       Court or agency’s name and address
            Balboa Capital Corporation v. Vector                                             Superior Court of California                       
                                                                                                                                                ✔   Pending
     7.2.
            Utilities LLC and Griselda Cortes                                                                                                      On appeal
            Gaytan
             Case number
                                                                                                                                                   Concluded
                                                     Collections                             700 Civic Center Drive
                                                                                             Santa Ana, CA 92701
      30-2023-01334627-CU-CL-CJC
             _________________________________


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
                          Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 47 of 64

                 Vector Utilities LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).
            Vandalism of two concrete trucks - 2009 KW
            and 2007 Peterbilt                                   0.00                                                        3/4/2023             27,800.00
                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
                      Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 48 of 64

                Vector Utilities LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Margaret M. McClure
            __________________________________________
   11.1.                                                                                                                 5/30/2023
                                                                                                                         ______________      $_________
                                                                                                                                               25,000.00
            Address

            Attorney at Law
            25420 Kuykendahl, Suite B300-1043
            The Woodlands, TX 77375




            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
                      Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 49 of 64

                Vector Utilities LLC
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
                            Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 50 of 64

                 Vector Utilities LLC
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.    ________________________________________                                                                                     ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                            Electronically
                                                                                                                                            Paper

                                                             Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                        debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 51 of 64

Debtor            Vector Utilities LLC
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
                       Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 52 of 64

              Vector Utilities LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 9
                       Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 53 of 64

                Vector Utilities LLC
Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 10
                           Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 54 of 64

                   Vector Utilities LLC
Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              John F. Coggin, CPA, PLLC (2007 to Present)                                                     From 01/08/2007
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name
              3300 E. Walnut Street, Suite B, Pearland, TX 77581                                              To _______




              Name and address                                                                                Dates of service

              Griselda C. Gaytan (1/8/2007 to Present)                                                        From 01/08/2007
                                                                                                                   _______
   26a.2.     __________________________________________________________________________________
              Name
              1820 Reynolds Street, Laredo, TX 78043                                                         To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                    Name and address                                                                          Dates of service


                    John F. Coggin, CPA, PLLC (Audited Financials for years 2019, 2020 and 2021               From _______
         26b.1.     ______________________________________________________________________________
                    Name
                    3300 E. Walnut Street, Suite B, Pearland, TX 77581                                        To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     Griselda C. Gaytan
                    ______________________________________________________________________________
                    Name
                     1820 Reynolds Street, Laredo, TX 78043




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 11
                            Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 55 of 64

                    Vector Utilities LLC
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    John F. Coggin, CPA, PLLC (Has Access to Company Quick Books)
                     ______________________________________________________________________________
                     Name
                      3300 E. Walnut Street, Suite B, Pearland, TX 77581




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                   None

                     Name and address


           26d.1.    Texas Department of Transportation (Audited 2019-2021)
                     ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.
                     Newtek (2020)
                     ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 12
                       Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 56 of 64

                Vector Utilities LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 Rolando Gaytan                              1820 Reynolds Street, Laredo, TX 78043                  Member                                  49


 Griselda C. Gaytan                          1820 Reynolds Street, Laredo, TX 78043                  Managing Member                         51




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     
     ✔     Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    Rolando Gaytan                                                                                                                  Wages for 2022
            ______________________________________________________________            108,264.00
                                                                                      _________________________          _____________
            Name
            1820 Reynolds Street
            Laredo, TX 78043                                                                                             _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________
            Member
            ______________________________________________________________                                               _____________
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
                          Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 57 of 64

                   Vector Utilities LLC
Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient                                                 108,316.00                                        Wages for 2022
                                                                                            __________________________     _____________

   30.2        Griselda C. Gaytan
              ______________________________________________________________
              Name                                                                                                         _____________
               1820 Reynolds Street
               Laredo, TX 78043                                                                                            _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________
              Managing Member
              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       07/16/2023
                               _________________
                                MM / DD / YYYY



              /s/ Griselda C. Gaytan
              ___________________________________________________________                              Griselda C. Gaytan
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Managing Member
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
                         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 58 of 64
                  Vector Utilities LLC
    Debtor Name                                                                     Case number (if known)



                                             Continuation Sheet for Official Form 207

3) Certain payments or transfers to creditors within 90 days before filing this case

,                                        $1,413.00

Barricades Unlimited,                    $8,930.40

Big Bend Concrete,                       $5,926.00

Buyers Barricades,                       $16,724.63

Capital One Business,                    $13,130.74

CMC Construction                         $54,684.34
Services,

CMC Rebar Central/CMC                    $113,068.77
Commercial Metals,

Dimmit County SWD, LLC,                  $1,037.00

First Citizens Bank &                    $1,636.58
Trust Company,

Gibraltar Global LLC,                    $141,369.00

Highway Barricades &                     $1,415.50
Services,

J.E. Casey, LLC,                         $10,551.65

Lovein Ribman Attorneys                  $5,000.00
& Counselors,

Mac Septic Porta Potties,                $156.96


Newtek Business Lending                  $39,465.00
SBA Loan,

Owl Rock Capital Group,                  $10,000.00
LLC Loan,

Pathmark Traffic                         $1,593.20
Equipment,

Rabern Rentals,                          $5,489.00

Rojas Heavy Equipment                    $10,512.50
LLC,

RPV Construction LLC,                    $17,480.00

Samson Funding,                          $11,216.66

South Texas Aggregates                   $46,887.41
Inc.,

South Point Rentals,                     $147.50




     Official Form 207                      Statement of Financial Affairs for Non-Individuals
                      Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 59 of 64
               Vector Utilities LLC
 Debtor Name                                                                           Case number (if known)



                                                Continuation Sheet for Official Form 207
Street Smart Rentals LLC,                   $2,000.00


Superior Traffic                            $11,332.00
Services,

Texas Community Bank,                       $302,320.54

Texas Environmental                         $9,700.22
Management,

Texas Guardrail                             $90,237.22
Contractors LLC,

Thomas Ready Mix,                           $15,535.82

Toshiba Financial                           $332.92
Solutions,

United Rentals,                             $12,767.47

V & M Construction,                         $56,020.13

Vulcan Construction                         $277,844.40
Materials LLC,

Water Truck Rentals,                        $25,740.00

Wells Fargo Equipment                       $11,684.65
Loan,


10) Certain Losses

Theft and vandalism of                      $0.00                                   $9,000.00
power tools

Theft of two work trucks                    $0.00                                   $4,500.00
and backhoe parts and
tools


26a) Bookkeepers

Maria G. Gonzalez                     7426 Harper Lee,           07/12/2021                         06/12/2023
                                      Laredo, TX 78041

Melanie K.                            3300 E. Walnut
Halliburton (2019                     Street, Suite B,
- 2022)                               Pearland, TX 77581


26d) Creditors

Texas Community Bank (2019 - 2022)

MW GRP Capital/Samson Funding (2022)




  Official Form 207                            Statement of Financial Affairs for Non-Individuals
                      Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 60 of 64

 Fill in this information to identify the case and this filing:

              Vector Utilities LLC
 Debtor Name __________________________________________________________________

                                         Southern District of Texas
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    07/16/2023
        Executed on ______________                          /s/ Griselda C. Gaytan
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Griselda C. Gaytan
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Managing Member
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 61 of 64


Allen Plumbing & Supply Co.                  CMC Construction Services
2005 S. Hwy 83                               P.O. Box 844573
Crystal City, TX 78839-4505                  Dallas, TX 75284


American Express                             CMC Construction Services
P.O. Box 6031                                11811 East Freeway, Suite 660
Carol Stream, IL 60197-6031                  Houston, TX 77029


American Express - Line of Credit            Commercial Metals Company
P.O. Box 6031                                11811 East Freeway, Suite 660
Carol Stream, IL 60197-6031                  Houston, TX 77029


Balboa Capital                               Dimmit County SWD, LLC
P.O. Box 844803                              13238 FM190
Los Angeles, CA 90084-4803                   Carrizo Springs, TX 78834


Balboa Capital                               Dyess-Peterson Testing Laboratory, Inc.
575 Anton Blvd., 12th Floor                  P.O. 30699
Costa Mesa, CA 92626                         Amarillo, TX 79120


Barricades Unlimited                         E-470 Public Highway Authority
2002 Clovis Road                             P.O. Box 5470
Lubbock, TX 79415                            Denver, CO 80217-5470


Big Bend Concrete                            First Citizens Bank & Trust Company
1406 US 90                                   10201 Centurion Pkwy N.
Alpine, TX 79830                             Suite 100
                                             Jacksonville, FL 32256

Buyers Barricades
4941 Emil Street                             Flasher Equipment Company
San Antonio, TX 78219                        5827 W US Hwy 90
                                             San Antonio, TX 78227

Carillo & Associates, Inc.
911 Frio City Road                           Ford Credit
San Antonio, TX 78207                        Post Office Box 105704
                                             Atlanta, GA 30348-5704

Carvana LLC
1123 Cantrell Sansom Rd.                     Garrett Construction Co.
Fort Worth, TX 76131                         P.O. Box 1028
                                             Ingleside, TX 78362

Chase Ink
P.O. Box 15123                               Gibraltar Global, LLC
Wilmington, DE 19850-5123                    1208 Houston Clinton Drive
                                             Burnet, TX 78611

CIT Bank, N.A.
10201 Centurion Pkwy N.                      Griselda Gaytan
Suite 100                                    1820 Reynolds Street
Jacksonville, FL 32256                       Laredo, TX 78043
         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 62 of 64


HCTRA - Violations                          Newtek Small Business Finance, LLC
P.O. Box 4440, Dept. 11                     1981 Marcus Avenue, Suite 130
Houston, TX 77210-4440                      Lake Success, NY 11042


HCTRA - Violations                          North Texas Tollway Authority
P.O. Box 4440, Dept. 8                      P.O. Box 660244
Houston, TX 77210-4440                      Dallas, TX 75266-0244


Highway Barricades and Services             Owk Rock Capital Group, LLC
P.O. Box 9104                               1981 Marcus Avenue, Suite 180
Corpus Christi, TX 78469                    Lake Success, NY 11042


J & J Excavating & Materials                Pathmark Traffic Equipment
4236 North US Hwy 83                        4435 Hunter Road
Crystal City, TX 78839                      San Marcos, TX 78666


Lovein Ribman                               Rabern Rentals
Attorney & Counselors                       4807 S. Washington
1225 S. Main Street, Suite 200              Amarillo, TX 79110
Grapevine, TX 76051

                                            RMA Toll Processing
MAC Septic                                  P.O. Box 734182
P.O. Box 640                                Dallas, TX 75373-4182
Fort Davis, TX 79734

                                            Rojas Heavy Equipment
Merchants Bonding Company (Mutual)          240 Frontage Road
P.O. Box 14498                              Alamo, TX 78516
Des Moines, IA 50306

                                            Rolando Gaytan
Merchants National Bonding, Inc.            1820 Reynolds Street
P.O. Box 14498                              Laredo, TX 78043
Des Moines, IA 50306

                                            Rolando Gaytan & Griselda Gaytan
MW GRP Capital/Samson Funding               1820 Reynolds Street
c/o Ariel Bouskila, Attorney at Law         Laredo, TX 78043
80 Broad Street, Suite 3303
New York, NJ 10004
                                            Rolando Gayton
                                            1820 Reynolds Street
MW GRP Capital/Samson Funding               Laredo, TX 78043
c/o Ariel Bouskila, Attorney at Law
1545 U.S. 202, Suite 101
Pomona, NY 10970                            RPV Construction, LLC
                                            59 Duck Pond Rd.
                                            Del Rio, TX 78840
MW GRP Capital/Samson Funding
17 State Street, Suite 630
New York, NJ 10004                          S & S Bridge Painting, Inc.
                                            P.O. Box 295094
                                            Kerrville, TX 78029
Newtek Small Business Finance, LLC
P.O. Box 150
Northville, NY 12134
         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 63 of 64


SCR Civil Construction, LLC                 Toshiba Business Solutions
5420 FM 2218                                P.O. Box 790448
Richmond, TX 77469                          Saint Louis, MO 63179-0448


Security Service Federal Credit Union       Toshiba Business Solutions
Post Office Box 691510                      Post Office Box 790448
San Antonio, TX 78269                       St. Louis,, MO 63179-0448


South Point Rentals                         TxTag
1710 Young Drive                            P.O. Box 650749
Kingsville, TX 78364                        Dallas, TX 75265-0749


South Texas Aggregates, Inc.                U.S. Bank Equipment Finance
4343 E. Main Street                         1310 Madrid Street
Uvalde, TX 78801                            Marshall, MN 56258


Street Smart Rentals                        United Rental
6811 137th Avenue NE                        2225 Austin Street
Columbus, MN 55025                          San Angelo, TX 76903-8757


Superior Traffic Services                   V & M Construction
8404 El Way                                 1406 Avenue Q
Missoula, MT 59808                          Del Rio, TX 78840


Texas Community Bank                        Vulcan Materials Company
6721 McPherson Rd                           10101 Reunion Place, Suite 500
Laredo, TX 78043                            San Antonio, TX 78216


Texas Environmental Management, SA Inc.     Water Truck Rental
Post Office Box 369                         8238 Leopard Street
Justin, TX 76247                            Corpus Christi, TX 78409


Texas Guardrail Contractors, LLC            Wells Fargo Bank
1211 San Dario Avenue, #1680                600 South 4th Street
Laredo, TX 78040                            MAC N9300-100
                                            Minneapolis, MN 55415

Texas Hill Country Mobile Mixers, Inc.
4300 IH-10W
Boerne, TX 78006


Texas Hill Country Mobile Mixers, Inc.
c/o Cokinos Construction Law
1221 Lamar, 16th Floor
Houston, TX 77010


Thomas Ready Mix Company, Inc.
P.O. Box 5664
Amarillo, TX 79117-5664
         Case 23-60040 Document 1 Filed in TXSB on 07/16/23 Page 64 of 64




                                United States Bankruptcy Court
                                Southern District of Texas




         Vector Utilities LLC
In re:                                                            Case No.

                                                                  Chapter    11
                       Debtor(s)




                                Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               07/16/2023                         /s/ Griselda C. Gaytan
Date:
                                                  Signature of Individual signing on behalf of debtor

                                                   Managing Member
                                                  Position or relationship to debtor
